     Case
        Case
          1:19-cr-20165-RS
             3:24-cr-10132-AGS
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                                     394 Entered
                                          1 Filedon12/23/24
                                                    FLSD Docket
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 PROB 22                                                                                                   DOCKET NUMBER (Tran. Court)
 (Rev. 2/88)
                                                                                                           1:19-CR-20165-RS(1)
                             TRANSFER OF JURISDICTION                                                      DOCKET NUMBER (Rec. Court)

                                                                                                           24-cr-10132-AGS
NAME AND ADDRESS OF SUPERVISED RELEASEE                                 DISTRICT                          DIVISION
                                                                         Southern District of Florida      Miami
Akrum Alrahib
                                                                        NAME OF SENTENCING JUDGE
                                                                         The Honorable Rodney Smith
                                                                        DATE OF                            FROM            TO
SD/FL PACTS NO.: 6162553
                                                                        SUPERVISED RELEASE                 10/30/2023      10/29/2026

OFFENSE:
Count One: Conspiracy to defraud the United States and evade and defeat the payment of excise taxes, 18 U.S.C. § 371, a
Class D felony



PART 1 - ORDER TRANSFERRING JURISDICTION

UNITED STATES DISTRICT COURT FOR THE SOUTHERN DISTRICT OF FLORIDA
        IT IS HEREBY ORDERED that, pursuant to 18 U.S.C. 3605 the jurisdiction of the supervised
release named above be transferred with the records of this Court to the United States District Court for the
Southern District of California upon the Court’s order of acceptance of jurisdiction. This Court hereby
expressly consents that the period of supervised release may be changed by the District Court to which this
transfer is made without further inquiry of this court.*




December 16, 2024
                      Date                                                          United States District Judge


 *This sentence may be deleted in the discretion of the transferring Court.

PART 2 - ORDER ACCEPTING JURISDICTION

UNITED STATES DISTRICT COURT FOR THE SOUTHERN DISTRICT OF CALIFORNIA


      IT IS HEREBY ORDERED that, jurisdiction over the above-named probationer/supervised
releasee be accepted and assumed by this Court from and after the entry of this order.




        DECEMBER 20, 2024
            Effective Date                                                          United States District Judge
